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B 210A (Form 210A) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                    FOR THE EASTERN DISTRICT OF VIRGINIA

In re ________________________________,
         JOHN SMALL                                                                               Case No. ________________
                                                                                                              10-37875




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



   PYOD LLC                                                                  Roundup Funding, LLC
______________________________________                                      ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):               5
should be sent:                                                             Amount of Claim:                        11234.03
        PYOD LLC                                                            Date Claim Filed:                       01/12/2011
        c/o Resurgent Capital Services
        PO Box 19008
        Greenville, SC 29602

Phone: ______________________________
        877-264-5884                                                        Phone:    866-670-2361
Last Four Digits of Acct #: ______________
                               7174                                         Last Four Digits of Acct. #: __________
                                                                                                          9661


Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

       /s/ Susan Gaines
By:__________________________________                                                2/9/2012
                                                                            Date:____________________________
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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       * Please note the original document may include additional signatory pages not relevant to the claim.
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                                  Transfer and Assignment

   Sherman Originator III LLC (“SOLLC III”), without recourse, to the extent permitted by
applicable law, hereby transfers, sells, assigns, conveys, grants and delivers to PYOD LLC
(“PYOD”) all of its right, title and interest in and to the receivables and other assets (the
“Assets”) identified on Exhibit A, in the Receivable File dated November 08, 2011 delivered by
LSF5 B-LINE INVESTMENTS, LLC; B-LINE, LLC; ROUNDUP FUNDING, LLC; CR
EVERGREEN, LLC; CR EVERGREEN II, LLC; GET REAL HOLDINGS, LLC; AVALON
FINANCIAL SERVICES, LLC; B-REAL, LLC, By: B-LINE, LLC, its Manager on November
08, 2011 for purchase by SOLLC III on November 08, 2011. The transfer of the Assets included
electronically stored business records.

                Dated: November 08, 2011




                Dated: November 08, 2011
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                                       Exhibit A
 Receivables File
 11.08.11

 Transfer Group     Portfolio               Transfer Batch
 209425             17230                   N/A
